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                EXHIBIT 1
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 1                UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
 2
       GOVERNMENT OF THE UNITED          )
 3     STATES VIRGIN ISLANDS             )
                                         )
 4            Plaintiff,                 )
                                         )
 5     vs.                               ) 1:22-cv-10904-JSR
                                         )
 6     JPMORGAN CHASE BANK, N.A.,        )
                                         )
 7           Defendant/Third-            )
             Party Plaintiff.            )
 8     _________________________         )
       JPMORGAN CHASE BANK, N.A.         )
 9                                       )
              Third-Party                )
10            Plaintiff,                 )
                                         )
11     vs.                               )
                                         )
12     JAMES EDWARD STALEY,              )
                                         )
13            Third-Party                )
              Defendant.                 )
14
                       FRIDAY, JUNE 30, 2023
15
         CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
16
17                          – – –
18                Videotaped deposition of Kimberly
        Mehlman-Orozco, Ph.D., held at the offices of
19      WilmerHale, 2100 Pennsylvania Avenue NW,
        Washington, DC, commencing at 8:37 a.m.
20      Eastern, on the above date, before Carrie A.
        Campbell, Registered Diplomate Reporter and
21      Certified Realtime Reporter.
22
23                           – – –
24                GOLKOW LITIGATION SERVICES
              877.370.3377 ph | 917.591.5672 fax
25                      deps@golkow.com


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 1             Q.       Have you spent more than
 2      150 hours?
 3             A.       I'm not sure, but I would think
 4      so.
 5             Q.       More than 200 hours?
 6             A.       I don't know.
 7             Q.       How many hours do you plan to
 8      spend on this case in the future?
 9                      MS. ELLSWORTH:      Object to the
10             form.
11                      THE WITNESS:     Whatever amount
12             of hours are required to do my due
13             diligence and do what's required of me
14             as an expert.
15      QUESTIONS BY MS. BOGGS:
16             Q.       And you said you have not
17      submitted any invoices for this case, or you
18      just haven't submitted your final invoice?
19             A.       No invoices.     It's just been on
20      such a tight turnaround that I just haven't
21      had the time to submit it yet.
22             Q.       What do you do for a living?
23             A.       I serve as an expert witness in
24      human trafficking cases.        I provide training
25      and technical assistance for law enforcement.



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 1      that is a part-time role, no more than ten
 2      hours per week.      But I would say more often
 3      than not, less than -- less than that.
 4               Q.     You mention that you provide
 5      training and technical services through Break
 6      the Chain, and you then also provide training
 7      through Freedom Light; is that correct?
 8               A.     Correct.
 9               Q.     What's the difference between
10      the training you provide at Break the Chain
11      and the training you provide at Freedom
12      Light?
13               A.     So Freedom Light is
14      specifically oriented towards private
15      businesses.     The training through Break the
16      Chain is -- it can be law enforcement.           It
17      could be anybody.
18                      But specifically through
19      Freedom Light, we're actually producing a --
20      the most recent thing is producing a video
21      that can be incorporated into training
22      curriculum for businesses.
23                      Through that capacity in
24      Freedom Light, our largest client, our main
25      client, has been doing reoccurring trainings



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 1      for a dating website and then also working
 2      with tech companies to try to find artificial
 3      intelligence and machine-learning
 4      technologies to automate screening protocols
 5      specifically for online platforms, so how
 6      they can screen and automate ways in which
 7      they potentially identify, I guess, instances
 8      that might be at risk for trafficking.
 9                      So, for example, we had worked
10      on a beta version of screening online review
11      forums that were used by commercial sex
12      consumers, screening those for mentions of a
13      particular business and see if there was a
14      way that we can automate that to produce
15      reports for that particular business.
16                      So the beta version that we
17      used, we had done an auto -- I think it's a
18      machine-learning technology that was
19      automatically scraping a website by the name
20      of USA Sex Guide.      But there were some issues
21      with security, and also it was duplicating
22      the scraping effort, so we were trying to
23      work through that.
24                      But it was never ultimately,
25      you know, disseminated even in beta version.



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 1             A.       She is on the board, and she
 2      works for that law firm, so she's a member of
 3      the board.
 4             Q.       And what is her -- sorry, go
 5      ahead.
 6             A.       Oh, and she also serves as
 7      treasurer.
 8             Q.       And other than being the
 9      treasurer, what is her connection to Freedom
10      Light?
11             A.       She serves on the board.
12             Q.       And does she perform any
13      services for Freedom Light, other than
14      serving on the board?       Does she help develop
15      the trainings?
16             A.       No.   She doesn't help -- I
17      mean, she gives feedback on the videos and, I
18      mean, serves in a capacity that would be akin
19      to a board.     So she meets with the board
20      and gives feedback on moving forward.
21                      So, for example, I think right
22      now she's looking at the dissemination
23      software of where we're going to publish the
24      online training.      She gives -- because she
25      works for a law firm, she does some advisory



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 1      They were not joint programs whatsoever.
 2             Q.       What did you do in between 2005
 3      and when you began your master of arts
 4      program?
 5             A.       I was a GED adult basic
 6      educational workplace essential skills
 7      teacher for a period of time at the adult
 8      detention center at Princeland County jail.
 9                      I don't remember if I was
10      teaching at the time.       So I've taught on and
11      off at George Mason, undergrad classes.
12                      I taught at University of
13      Maryland-College Park from around 2012 to
14      around 2014 or so.
15             Q.       Under the doctor of philosophy,
16      where you list your doctor of philosophy
17      degree, it states, "Dissertation:          The
18      'Crimmigration' Effect: An analysis of 287(g)
19      and Latino/a representation in the US
20      juvenile justice system."
21                      Do you see that on your CV?
22             A.       Yes, ma'am.
23             Q.       Did you mention human
24      trafficking in your dissertation?
25             A.       No.   So I had -- I had taken



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 1      graduate-level coursework on human
 2      trafficking with a woman by the name of
 3      Louise Shelley, who is one of the few
 4      professors that actually had classes,
 5      specific graduate classes, on trafficking at
 6      the time.     I had asked her to do a -- my
 7      dissertation on human trafficking.
 8                      However, since there wasn't
 9      any -- I came from a very heavily
10      quantitative department, and there was no
11      quantitative data collection on human
12      trafficking available at the time.          As I'm
13      sure you're aware, the FBI's Uniform Crime
14      Report didn't even have a data point on
15      trafficking until 2013, which I think was
16      published in 2014.
17                      So for that reason, I was told
18      by my program that I could not do my
19      dissertation on trafficking, and -- even
20      though Dr. Shelley was somebody who was
21      willing to provide oversight for that
22      doctoral dissertation.
23                      So I did something that I
24      thought was not too far, too far removed,
25      looking at, you know, immigration and



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 1      erroneous criminalization, but it wasn't
 2      something that was possible to have been done
 3      in 2012 because of the lack of quantitative
 4      data.
 5              Q.      Under your dissertation, your
 6      CV states, "Expertise:        Human trafficking,
 7      human smuggling, immigration, survey methods
 8      and systematic review."
 9                      Do you see that?
10              A.      Yes, ma'am.
11              Q.      What does that mean,
12      "expertise" here?
13              A.      I would say it's my subject
14      matter area of expertise.        So I think that I
15      had some expertise and background in each of
16      those specific subjects.
17                      For example, I took several
18      classes where I had to do -- in as well as
19      part of my graduate research positions where
20      I had to do systematic reviews.          In one class
21      I did a meta-analysis from those systematic
22      reviews and formally trained in survey
23      research methods.      And I have utilized that
24      in my research where I have done it on human
25      trafficking since then.



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 1                     Immigration, human smuggling,
 2     human trafficking, those are all sort of
 3     related to the courses that I took,
 4     graduate-level courses, during my current --
 5     during my graduate education.
 6            Q.       So this is your
 7     self-description right here under expertise.
 8     This is not a certification --
 9            A.       Oh, correct.
10            Q.       -- given to you by George
11     Mason, correct?
12            A.       Yes.
13                     I apologize for interrupting
14     you again.     I'm so sorry.
15            Q.       That's okay.     It's sort of
16     natural conversation.       This is an unnatural
17     format.     I get it.
18                     You mentioned that you took
19     graduate-level classes relating to human
20     trafficking.
21                     Which classes are those?
22            A.       I don't remember offhand.        This
23     was ten -- over ten years ago.         I know that
24     Dr. Louise Shelley was working on her book on
25     human trafficking at the time of my class,



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 1     and I believe we actually reviewed a version
 2     of it that was prior to publication.
 3                     So she had a class that was
 4     specific -- my recollection, it was called
 5     human smuggling and human trafficking,
 6     something like that.       So that was one class.
 7                     I took classes on foreign
 8     nationals and crime, which focused on human
 9     trafficking.
10                     I don't remember each and every
11     class that talked about trafficking at the
12     time because, again, it was a burgeoning
13     subject that criminologists were looking at,
14     other than Louise Shelley.        Louise Shelley
15     was somebody who had been looking at it for a
16     number of years, specifically in Europe, as
17     well as in the United States.
18                     But what comes to mind just
19     mostly immediately is Dr. Shelley's class is
20     wholly focused on human trafficking and
21     smuggling.
22                     But I know that there were
23     several other classes.
24            Q.       You taught at a couple of
25     universities.     You mentioned that earlier,



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 1            Q.       And you taught that class for
 2     one semester, correct?
 3            A.       Correct.    And it was more of a
 4     directed study class with a Ph.D. candidate.
 5     So it wasn't a course of students.
 6            Q.       You said "candidate."       It was
 7     just a one-on-one?
 8            A.       A Ph.D. candidate, somebody who
 9     had not yet finished their Ph.D. who was
10     going through the process to become a Ph.D.
11            Q.       But you said "candidate,"
12     singular.     Does that mean it was one student?
13            A.       Oh, correct.
14            Q.       The rest of the classes that
15     you mention here, are any of them -- did any
16     of them relate to human trafficking?
17            A.       I incorporated human
18     trafficking material into all of my classes.
19     So I wouldn't say -- just -- same thing with
20     the courses that I took at Mason.         Only one
21     of them was entirely focused on human
22     trafficking, which was Dr. Shelley's, but
23     there were several other classes where human
24     trafficking was incorporated into the
25     material.



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 1            A.       For sure less than 50 percent.
 2            Q.       Less than 25 percent?
 3            A.       Possibly.    I mean, I don't
 4     remember, but I would say for certain less
 5     than 50.
 6            Q.       In the GED Workplace Essential
 7     Skills and Adult Basic Education, I'm
 8     assuming there's no human trafficking there,
 9     correct?
10            A.       No.   That was classes that I
11     taught to inmates at the jail.
12            Q.       The first three classes you
13     mentioned, Social Inequality Crime and
14     Justice, Law and Justice Around the World,
15     and Human Rights and Justice, what percentage
16     of those classes were devoted to human
17     trafficking?
18            A.       I don't remember.      I think some
19     students actually criticized for how much I
20     talked about human trafficking compared to
21     other professors.      I don't remember how much.
22     But that was my subject matter area of
23     expertise, and a lot of students were very
24     much interested in that topic, which is why
25     they took it from me as opposed to another



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 1     professor.     I don't remember how much of the
 2     material, though.
 3            Q.       Was it less than 50 percent?
 4            A.       I would say probably.
 5            Q.       And other than the first class
 6     that we talked about where it was a directed
 7     study with a potential Ph.D. candidate, were
 8     any of these classes on your list
 9     graduate-level classes?
10            A.       No, they were not.
11            Q.       Looking now at page 89 of your
12     report --
13            A.       Uh-huh.
14            Q.       -- so on your CV under
15     Publications --
16            A.       Uh-huh.
17            Q.       -- is this a complete list of
18     your publications?
19            A.       So there's publications that
20     are separate from reports.        So it's not
21     everything that I've written, because there's
22     that second delineation, but let's see.
23                     I think so.     I'm just trying to
24     see if the Projected Heros peer-reviewed
25     journal article is here.        Yeah, that's there.



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 1                     I think this should be a
 2     complete list.
 3            Q.       Are all of these publications
 4     published in peer-review journals?
 5            A.       No.   Clearly not.
 6            Q.       How many of these are published
 7     in peer-review journals?
 8            A.       So on page 90, the Projected
 9     Heros, Self-Perceived Manipulators, that's
10     published in a peer-review journal article.
11     That's one.
12                     I think the two articles, the
13     Mentions of Dental Hygiene and Decisions in
14     Dentistry, I think those are two peer-review
15     journal articles.      So that's three.
16                     The Safe Harbor Legislation for
17     Juvenile Victims of Sex Trafficking on
18     page 91, that's a peer-review journal
19     article.
20                     My book is not a peer-reviewed
21     journal article, but it was reviewed by
22     peers.    So it was reviewed by Louise Shelley.
23     It was reviewed by John Cotton Richmond, who
24     is a former prosecutor.       They provide blurbs,
25     like, on the back.      So it wasn't a



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 1     peer-review process, but it's a hybrid
 2     academic/commercial press.        So there was, I
 3     think, a vetting of the information to some
 4     degree.
 5                     So I'd say four if you're only
 6     counting the journal -- four if you're only
 7     counting the journal articles.
 8            Q.       When you say your "book," do
 9     you mean Hidden in Plain Sight?
10            A.       Yes, ma'am.
11            Q.       You wrote another book called
12     The Jihadi Next Door: How ISIS is Forcing,
13     Defrauding and Coercing Your Neighbor into
14     Terrorism, correct?
15            A.       Correct.
16            Q.       Does that book relate to human
17     trafficking?
18            A.       No, it doesn't relate to human
19     trafficking, but it does discuss how the
20     methods of recruitment into organized crime
21     such as terrorism can -- are tangentially
22     similar to methods of recruitment control
23     used by traffickers.
24            Q.       So does the word "trafficker"
25     or "trafficking" appear in your book?



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 1            A.       No, ma'am, I'm not.
 2            Q.       You're not a psychiatrist,
 3     correct?
 4            A.       That is correct.
 5            Q.       You're not a medical doctor,
 6     correct?
 7            A.       That is correct.
 8            Q.       You're not a mental health
 9     professional, correct?
10            A.       That is correct.
11            Q.       You are not an expert on
12     banking regulations, correct?
13            A.       That is correct.      I don't
14     purport to be.
15            Q.       And you're not an expert on
16     banking compliance, correct?
17            A.       That is correct.
18            Q.       You do not have any expertise
19     regarding the Bank Secrecy Act, correct?
20            A.       Again, I'm not an expert on
21     banking regulations.
22            Q.       Prior to this case, have you
23     ever worked in a financial institution?
24                     MS. ELLSWORTH:     Object to the
25            form of the question.



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 1                     VIDEOGRAPHER:     The time is
 2            11:23 a.m.     We're back on the record.
 3     QUESTIONS BY MS. BOGGS:
 4            Q.       We were talking about your
 5     background earlier.
 6                     You've never investigated or
 7     prosecuted trafficking in connection with any
 8     law enforcement agency, correct?
 9            A.       What do you mean by
10     investigated?     That I've never investigated
11     as a law enforcement officer?
12            Q.       Correct.
13            A.       As I mentioned earlier, I'm not
14     a law enforcement officer, but I have worked
15     in collaboration with law enforcement to
16     catalyze investigations.
17            Q.       What do you mean, catalyze
18     investigations?
19            A.       To, I guess, provide them with
20     information to start an investigation.           So to
21     provide them with information that they might
22     not be aware of, that might be a situation
23     that is at a high risk of trafficking.
24                     So if you want -- would you
25     like me to give a couple of examples?



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 1     with regards to -- I mean, again, it depends
 2     on what you're talking about.         If you're
 3     talking about human trafficking, victim
 4     reporting, so reporting that they've been
 5     victimized.
 6                     Oftentimes law enforcement will
 7     intervene if they identify an advertisement
 8     for commercial sex and reviews for commercial
 9     sex online, that'll catalyze an
10     investigation.
11                     You see interventions -- let's
12     see.   If there's surveillance of a particular
13     brothel where you're seeing individuals
14     coming in, for example, entirely male
15     clientele going to an erotic massage parlor,
16     it could be from a commercial sex consumer
17     reporting it, it could be a victim reporting
18     it.
19                     There are a number of ways in
20     which a law enforcement agency might
21     intervene.     But I've never seen an instance
22     where cash payment from a -- to a victim,
23     I've never seen that catalyze an
24     investigation or intervention.
25            Q.       On page 19, the second to last



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 1                     THE WITNESS:     Again, as I
 2            mentioned, that I think that perhaps a
 3            greater disruptive impact on
 4            traffickers would be incapacitating
 5            them through long terms of
 6            incarceration.      But certainly impeding
 7            on their ability to make money and
 8            exploit their victims and earn money
 9            off of their victims and -- I think it
10            could have a -- also a great
11            disruptive impact, for certain.
12     QUESTIONS BY MS. BOGGS:
13            Q.       If you go back to your report
14     on page 18, you state, "In fact" -- and this
15     is sort of bottom middle, I'll call it.           "In
16     fact, the exact opposite is true, as his
17     alleged crimes continued for six years after
18     the cessation of his business relationship
19     with JPMC
20

21                   ."
22                     Do you see that?
23            A.       Yes, ma'am.
24            Q.       You are not offering opinions
25     about whether JPMorgan complied with the Bank



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 1     Secrecy Act, correct?
 2            A.       No, ma'am.
 3            Q.
 4

 5

 6            A.
 7

 8

 9            Q.
10            A.
11

12

13

14

15

16            Q.
17

18

19            A.
20

21

22

23

24

25




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 1     it.   So I would assume that there would be
 2     associated law enforcement records that I did
 3     not see.
 4            Q.       Does everybody always do what
 5     they're supposed to do?
 6                     MS. ELLSWORTH:     Object to the
 7            form of the question.
 8                     THE WITNESS:     Of course not.
 9     QUESTIONS BY MS. BOGGS:
10            Q.       So it's possible that these
11     women could have saw a doctor and that the
12     doctor could have identified them or had
13     suspicions that they were a human trafficking
14     victim and never reported it, right?
15            A.       Again, as an empirically based
16     researcher, I'm going to rely upon Popper's
17     theory of falsifiability.        Anything is
18     possible.     So for certain, that is possible.
19            Q.       So you have no concrete
20     evidence -- strike that.
21                     MS. BOGGS:    We can take a
22            break.
23                     VIDEOGRAPHER:     Okay.   The time
24            is 3:22 p.m., and we're going off the
25            record.



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 1     between -- an in-between area between
 2     trafficking and consent, but I would not
 3     consider survival sex to be truly consenting.
 4                     So I think my opinion on that
 5     issue is made very clear in the report.
 6     Again, I think that these children should be
 7     treated as persons in need of services,
 8     social services.       They should not be
 9     criminalized.     They should not be treated as
10     consenting criminals whatsoever.
11                     But the fact of the matter is
12     that they -- despite what Ms. Carr says, they
13     are not treated as de facto victims of
14     trafficking.
15            Q.       Treated by whom?
16            A.       By law enforcement, by courts,
17     by appellate courts, by social services, by a
18     number of entities.
19            Q.       So earlier we were talking
20     about misidentification.
21                     Have you ever been sued by a
22     business for defamation?
23            A.       Yes.
24            Q.       When?
25            A.       I think in 2015.



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